     Case 2:23-cv-10086-MRW Document 13 Filed 02/20/24 Page 1 of 2 Page ID #:38



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     OSCAR MAGALLANES
 7
 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
     OSCAR MAGALLANES,                                Case No.: 2:23-cv-10086-MRW
11
12               Plaintiff,                           NOTICE OF VOLUNTARY
           vs.                                        DISMISSAL OF ENTIRE ACTION
13                                                    WITH PREJUDICE
14
     KOZY. LLC; MEHRDAD
15   HOMAYOUNI; and DOES 1 to 10,
16               Defendants.
17
18
19
           PLEASE TAKE NOTICE that Plaintiff OSCAR MAGALLANES (“Plaintiff”)

20
     pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses

21
     the entire action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1)

22
     which provides in relevant part:

23         (a) Voluntary Dismissal.

24               (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25                      and any applicable federal statute, the plaintiff may dismiss an action
26                      without a court order by filing:
27                      (i)     A notice of dismissal before the opposing party serves either an
28                              answer or a motion for summary judgment.

                                                  1
                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
     Case 2:23-cv-10086-MRW Document 13 Filed 02/20/24 Page 2 of 2 Page ID #:39




 1   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3   Court.
 4
 5   DATED: February 20, 2024              SO. CAL. EQUAL ACCESS GROUP
 6
 7
 8                                         By:     /s/ Jason J. Kim
                                                 Jason J. Kim, Esq.
 9                                               Attorneys for Plaintiff
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                   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
